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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

   SUSAN BYRNE,                               :
     Plaintiff                                :       Civil Action No.
                                              :
   vs.                                        :       3:17-cv-01104-VLB
                                              :
   YALE UNIVERSITY                            :
     Defendant                                :       DECEMBER 30, 2019
                                              :

                            JOINT TRIAL MEMORANDUM


         Pursuant to the Court’s October 3, 2018 Amended Scheduling Order, ECF

No. 59, Plaintiff Susan Byrne and Defendant Yale University (the “Defendant”)

respectfully submit this Joint Trial Memorandum.


         TRIAL COUNSEL: The parties will be represented at trial by the following:


Plaintiff                                 Defendant

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JURISDICTION: The Court has subject matter jurisdiction over this action
pursuant to 28 U.S.C. Section 1331, because Plaintiff’s claims present a
federal question under 42 U.S.C. Section 2000, et seq. and 29 U.S.C. Section
621, et seq. This Court has supplemental jurisdiction over the state law
claims in this case pursuant to 28 U.S.C. Section 1367.

JURY/NON-JURY: Plaintiff has claimed this case to the jury.

LENGTH OF TRIAL: The parties estimate that the trial will last 10-15 days.

      FURTHER PROCEEDINGS: The parties request a conference with the
      Court in which the parties can argue their respective positions on any
      jury instructions that are materially different. In particular, argument
      on the issue of whether the “but-for” standard applies to Plaintiff’s
      CFEPA retaliation claims is likely to shape the trial of this case, and
      as such an early conference would be beneficial to both parties.
      Moreover, the parties would like to present argument on their motions
      in limine before the trial begins, because rulings on at least some of
      those motions will affect the parties’ presentations from the beginning
      of the trial.


NATURE OF THE CASE: The nature of Plaintiff’s causes of action and the
relief sought are set forth below, as are Defendant’s core affirmative
defenses. The parties acknowledge that the Court’s rulings on the pending
summary judgment motion, and on the motions in limine filed in conjunction
with this Joint Trial Memorandum, may alter the descriptions set forth below.

A.    Count One: Retaliatory Discharge in Violation of Conn. Gen. Stat.
      Section 46a-58, et seq. (“CFEPA”):

      Plaintiff alleges that she was not granted tenure within the Department
      of Spanish and Portuguese due to retaliation because members of the
      department had the mistaken belief that she was the author of a March
      6, 2015 anonymous letter that was distributed to faculty members of
      the department, members of Defendant’s administration, and was the
      subject of a Yale Daily News article indicating that sexual harassment
      was occurring in the department, which sparked a series of
      investigations. Separately, Plaintiff claims she engaged in protected
      activity by 1) being interviewed by Defendant’s attorneys as part of
      Defendant’s investigation into the climate of the Department of
      Spanish and Portuguese; 2) being quoted and referenced in the Yale
      Daily News article about complaints of discrimination and harassment
      by graduate students in the Department; and 3) by testifying as part of
      Defendant’s Title IX investigation into sexually inappropriate
      comments and behavior by Professor Gonzalez Echevarria.


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     Defendant, in contrast, asserts that it is not liable under CFEPA
     because the determination that Plaintiff’s scholarship did not meet
     Yale’s tenure standard was the legitimate, non-retaliatory reason for
     Defendant’s unfavorable tenure vote in the Department of Spanish and
     Portuguese. Defendant’s view of Plaintiff’s scholarship developed
     over a period of years, beginning before she purportedly engaged in
     protected activity. Moreover, the decision-makers involved in deciding
     to deny her tenure were unaware of some of the alleged protected
     activity, and in any event, were not motivated by her speech, but rather
     by the quality of her work. Thus, Plaintiff cannot prove that her
     protected activity was the but-for cause of the adverse tenure
     decision.

B.   Count Two: Retaliatory Discharge in Violation of Title VII of the Civil
     Rights Act of 1964, As Amended, 42 USC 2000E, and the Civil Rights
     Act of 1991 (“Title VII”):

     As with her retaliation claim under Connecticut law, Plaintiff alleges
     that she was not granted tenure within the Department of Spanish and
     Portuguese due to retaliation because members of the department had
     the mistaken belief that she was the author of a March 6, 2015
     anonymous letter that was distributed to faculty members of the
     department, members of Defendant’s administration, and was the
     subject of a Yale Daily News article indicating that sexual harassment
     was occurring in the department, which sparked a series of
     investigations. Separately, Plaintiff claims she engaged in protected
     activity by 1) being interviewed by Defendant’s attorneys as part of
     Defendant’s investigation into the climate of the Department of
     Spanish and Portuguese; 2) being quoted and referenced in the Yale
     Daily News article about complaints of discrimination and harassment
     by graduate students in the Department; and 3) by testifying as part
     of Defendant’s Title IX investigation into sexually inappropriate
     comments and behavior by Professor Gonzalez Echevarria.

     Defendant, in contrast, asserts that it is not liable under CFEPA
     because the determination that Plaintiff’s scholarship did not meet
     Yale’s tenure standard was the legitimate, non-retaliatory reason for
     Defendant’s unfavorable tenure vote in the Department of Spanish and
     Portuguese. Defendant’s view of Plaintiff’s scholarship developed
     over a period of years, beginning before she purportedly engaged in
     protected activity. Moreover, the decision-makers involved in deciding
     to deny her tenure were unaware of some of the alleged protected
     activity, and in any event, were not motivated by her speech, but rather
     by the quality of her work. Thus, Plaintiff cannot prove that her
     protected activity was the but-for cause of the adverse tenure
     decision.


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C.   Count Three: Negligent Misrepresentation:

     Plaintiff alleges that Defendant negligently misrepresented the terms
     and conditions under which she would be entitled to tenure. The
     criteria and procedures for tenure were published in the FAS
     Handbook and the Faculty Handbook. Both Handbooks promise a fair
     review of a tenure case. The FAS Handbook obligated Defendant to
     recuse an individual from discussions and votes on tenure on that
     individual when there is a personal or professional conflict of interest.
     Plaintiff reasonably relied on these misrepresentations to her
     detriment.

     Defendant, in contrast, asserts that it is not liable under a negligent
     misrepresentation theory because the statements Defendant made to
     her did not constitute misrepresentations; rather, Defendant complied
     with the terms of the relevant Handbooks, and fairly reviewed
     Plaintiff’s tenure case. Defendant was candid with Plaintiff about the
     deficiencies in her work, particularly her scholarship, and thus
     Plaintiff knew or should have known that there was a possibility she
     may not receive tenure.

     Further, to the extent Plaintiff understood the FAS Handbook to
     require the recusal of certain professors, it was unreasonable for her
     to do so, as the FAS Handbook does not mandate recusal in the
     circumstances presented by this case.

D.   Count Four: Breach of Contract:

     Plaintiff alleges that the Faculty Handbook constitutes an employment
     contract between Plaintiff and Defendant, and that Defendant
     breached the contract by not ensuring a fair review of her tenure
     application. Plaintiff alleges that Defendant breached the employment
     contract by refusing to recuse individuals with a personal or
     professional conflict of interest from the tenure vote, as required in
     the Handbook. Plaintiff also claims that she had a reasonable
     expectation that individuals with a conflict of interest would be
     recused, consistent with Defendant's Handbook requiring recusal of
     individuals with a personal or professional conflict of interest.

     Defendant denies that it violated any contract between Plaintiff and
     Defendant. Defendant asserts that it had no obligation to compel the
     recusal of any professor, that it complied with all required procedures
     associated with Plaintiff’s tenure review, and that ultimately it did
     evaluate Plaintiff’s tenure case in accordance with the standards set
     forth in the Faculty Handbook. Further, because attaining tenure
     requires approval at levels above the department level, and because
     Plaintiff never received approval at those levels, Plaintiff’s only

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      alleged contractual damages are entirely speculative in nature. As
      such, she cannot establish the damages element of her breach of
      contract claim.


TRIAL BY MAGISTRATE JUDGE: The parties have not agreed to try this case
before a Magistrate Judge.

LIST OF WITNESSES AND EXHIBITS:

(a)   Witnesses: See Exhibit P-1 (Plaintiff’s list) and D-1 (Defendant’s list).
      Plaintiff’s Objections to Defendant’s Witness List and Defendant’s
      Responses thereto are attached as Exhibit P-2. Defendant’s
      Objections to Plaintiff’s Witness List and Plaintiff’s Responses
      thereto are attached as Exhibit D-2.

(b)   Exhibits: See Exhibit P-3 (Plaintiff’s list, with objections and
      responses thereto) and D-3 (Defendant’s list with objections and
      responses thereto).

STIPULATIONS AND PROPOSED FINDINGS OF FACT AND CONCLUSIONS
OF LAW

(a)   Bench Trial: Not applicable.

(b)   Jury Trial: Undersigned counsel will continue to work together to
      determine if the parties can reach agreement on stipulations of fact.

      (1) Proposed Voir Dire Questions: See Exhibit P-4 (Plaintiff’s
          Proposed Voir Dire Questions) and D-4 (Defendant’s Proposed Voir
          Dire Questions).

      (2) Proposed Jury Instructions: See Exhibit P-5 (Plaintiff’s Jury
          Instructions and D-5 (Defendant’s Jury Instructions).

            Plaintiff’s Objections to Defendant’s Jury Instructions are
            attached hereto as P-6.

            Defendant’s Objections to Plaintiff’s Jury Instructions are
            attached hereto as D-6

      (3) Proposed Verdict Form: See Exhibit P-7 (Plaintiff’s Proposed
          Verdict Form and Defendant’s objections) and D-7 (Defendant’s
          Proposed Verdict Form and Plaintiff’s objections)

      (4) Brief Description of Case and Parties:


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Plaintiff, Susan Byrne, was an Associate Professor on Term at Yale
University, the Defendant in this case. In 2015, Plaintiff applied for tenure
within Yale’s Department of Spanish and Portuguese. In February 2016, this
Department declined to approve Plaintiff for tenure at Yale, asserting
principally that Plaintiff’s scholarship was not of the quality necessary to
achieve tenure.

Plaintiff alleges that Defendant’s decision to deny her tenure was an act of
retaliation based on Plaintiff’s alleged complaints and Defendant’s agents’
mistaken belief of Plaintiff’s alleged complaints regarding conduct that she
believed violated state and federal anti-discrimination laws. Plaintiff thus
alleges retaliation in violation of the Connecticut Fair Employment Practices
Act, and Title VII. Plaintiff further alleges that in not following its policies set
forth in its Handbook obligating recusal by individuals who have a personal
or professional conflict of interest, Plaintiff did not receive a fair review of
her tenure application, causing Yale to breach the employment contract set
forth in the Handbook.           Plaintiff also alleges that Yale negligently
misrepresented to her that she would receive a fair tenure review and that
individuals with personal or professional conflict of interest would be
recused from the tenure review process.

Defendant denies Plaintiff’s allegations. Yale University is one of the
preeminent universities in the world, and it necessarily maintains high
standards for achieving lifetime tenure. Defendant’s defense is principally
that the Department of Spanish and Portuguese evaluated Plaintiff based on
her scholarship and the merits of her tenure application, and that the
Department was not motivated by any retaliatory animus. Rather, after a
thorough review consistent with its policies and procedures, a majority of
the Department determined, in the first level of the tenure process, that
Plaintiff was not qualified for the lifetime position she sought, and thus
Plaintiff did not proceed to the further levels of tenure review that would have
been required if she had succeeded at the first level. Defendant further
denies that it made any misrepresentations to Plaintiff and asserts that it did
not breach any contract with Plaintiff. To the contrary, Yale asserts that it
complied with its policies and procedures and afforded Plaintiff a full and
fair review of her tenure case.

ANTICIPATED EVIDENTIARY ISSUES

The parties’ Motions in Limine are listed below. The Motions have been

separately filed and are attached as Exhibits P-8 through P-9, and Exhibit D-

8 through D-14.

(a) Plaintiff’s motions in limine


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1. Motion in limine to prevent Defendant’s witnesses from testifying as to

   their opinions regarding decisions made regarding Plaintiff’s employment

   when such individuals and/or their observations were not part of any

   decision-making process.

2. Motion in limine to preclude Defendant from offering recordings of Climate

   Review interviews of Professors Adorno, Gonzalez Echevarria and Valis,

   recently disclosed months after the close of discovery.



(b) Defendant’s motions in limine

1. Motion in limine to exclude evidence of wage-related losses or any other

   equitable relief, because these issues should be decided by the Court

   post-trial.

2. Motion in limine to exclude any evidence regarding instatement to a tenure

   position, as such relief relies wholly on speculation, and is otherwise not

   permissible.

3. Motion in limine to exclude evidence related to a potential punitive

   damages claim, because such damages were not available under CFEPA

   during the relevant timeframe, and any claim for punitive damages under

   Title VII should be bifurcated.

4. Motion in limine to preclude admission of the Climate Review Report due

   to its inclusion of multiple layers of hearsay, irrelevance, and the risk of

   undue prejudice to Yale.




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     5. Motion in limine to preclude the testimony of external reviewers of

        Plaintiff’s scholarship, as they were not disclosed as potential witnesses

        to damages, nor as expert witnesses.

     6. Motion in limine to preclude evidence of the Title IX complaint filed on

        February 17, 2016 and the ensuing proceedings, as the complaint post-

        dated the negative vote on Plaintiff’s tenure case and constitutes

        impermissible character evidence, and to preclude evidence of Plaintiff’s

        involvement with the Title IX office on the basis that it is irrelevant in that

        no decisionmaker was aware of such involvement.

     7. Motion in limine to exclude evidence regarding matters unrelated to

        Plaintiff or her claims in this case, such as remote allegations about

        Roberto Gonzalez Echevarria, Plaintiff’s feelings toward Rolena Adorno,

        and correspondence about an Internet address.

     8. Motion in limine to exclude evidence of Plaintiff’s opinions about her own

        scholarship.



PLAINTIFF,                               DEFENDANT,
SUSAN BYRNE                              YALE UNIVERSITY



/s/ Claire Howard                        /s/ David C. Salazar-Austin
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                           CERTIFICATION OF SERVICE

      I hereby certify that on December 30, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system and by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through

the Court’s CM/ECF System.



                                        /s/ Claire Howard
                                        Claire Howard
                                        4848-0716-2800, v. 1




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